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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF TEXAS
                            AMARILLO DIVISION

Purl, M.D., et al.,                       §
                                          §
            Plaintiffs,                   §
                                          §
      v.                                  §      Civil Action No. 2:24-cv-228-Z
                                          §
United States Department of               §
Health and Human Services, et al.,        §
                                          §
            Defendants.                   §


           PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
                        AND BRIEF IN SUPPORT


      Plaintiffs Dr. Carmen Purl and Carmen Purl, M.D., PLLC, d/b/a Dr. Purl’s

Fast Care Walk In Clinic, hereby file this motion for preliminary injunction.

Plaintiffs ask the Court to issue an injunction before December 23, 2024, the first

compliance date for a new regulation that violates the Administrative Procedure

Act. The rule twists regulations issued under the Health Insurance Portability and

Accountability Act of 1996 (“HIPAA”) into a political tool in the abortion debate,

muzzling Plaintiffs from giving the State of Texas information that protects their

patients and the public health from harm and abuse. Defendants oppose the motion.

      Plaintiffs’ motion is supported by a concurrently filed appendix and the brief

set forth below.
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   BRIEF IN SUPPORT OF MOTION FOR PRELIMINARY INJUNCTION

      The Department of Health and Human Services has inserted abortion and

gender identity into a statute that has nothing to do with those controversies. See

HIPAA Privacy Rule to Support Reproductive Health Care Privacy, 89 Fed. Reg.

32,976 (Apr. 26, 2024) (“2024 Rule”). HHS admits that it issued the 2024 Rule in

response to Dobbs v. Jackson Women’s Health Organization, 597 U.S. 215 (2022).

And because HHS disagrees with Dobbs, the agency politicized a neutral law about
patient privacy, the Health Insurance Portability and Accountability Act of 1996

(“HIPAA”). That is outside HHS’s lawful authority.

      The 2024 Rule injures doctors and clinics across the country, including

Plaintiffs Dr. Carmen Purl and her clinic in Dumas, Texas, where she has spent

many years caring for her patients. The 2024 Rule restricts Dr. Purl’s ability to

protect her patients by limiting her ability to disclose information about suspected

abuse if it involves anything related to “reproductive health care,” including

abortion or gender-transition procedures. The 2024 Rule restricts her cooperation

with state investigations and compliance with lawful process, like subpoenas and

court orders. The 2024 Rule forces Dr. Purl to engage in legal speculation—at her

own risk—about when and how HHS’s political appointees believe abortions are

legal under their view of the Constitution—and it penalizes Dr. Purl under HIPAA
if she guesses wrong. Finally, the 2024 Rule admits covered entities like Plaintiffs

must incur unrecoverable compliance costs by December 23, 2024, when its new

requirements start to go into effect. The Court should grant a stay under 5 U.S.C.

§ 705 or issue a preliminary injunction preventing enforcement of the 2024 Rule

while judicial review proceeds.




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                                   BACKGROUND

I.    Carmen Purl, M.D. and Dr. Purl’s Fast Care Walk-In Clinic.

      Dr. Carmen Purl is a board-certified family practice physician. Purl Decl. ¶ 2,

App. 001. She has been practicing medicine since 1986 and received her board

certification in 1988. Purl Decl. ¶ 2, App. 001. She is the sole owner of Carmen Purl,

M.D., PLLC, d/b/a Dr. Purl’s Fast Care Walk In Clinic (“the Clinic”), through which

she employs about 18 people. Purl Decl. ¶¶ 1, 3, App. 001. Dr. Purl and three nurse

practitioners employed by the Clinic provide healthcare to patients in Dumas,

Texas. Purl Decl. ¶ 3, App. 001.

      As professionals licensed by the State of Texas, Dr. Purl and her employees

are subject to mandatory abuse reporting requirements under Texas law. Purl Decl.

¶ 4, App. 001. Failure to report child abuse or neglect within 48 hours may subject a

Texas-licensed professional to criminal penalties, including incarceration. Purl Decl.

¶ 4, App. 001–002. Dr. Purl and her employees have similar obligations if they

suspect abuse of a vulnerable adult, such as a patient with a disability or who is

elderly. Purl Decl. ¶ 4, App. 001–002. In addition to legal requirements, they have

moral and ethical obligations to protect and advocate for patients, including by
reporting suspected abuse or crime. Purl Decl. ¶ 4, App. 002.
      In her nearly 40 years as a practicing physician, Dr. Purl has encountered

many child patients who were abused or neglected, as well as some women and

elderly victims. Purl Decl. ¶ 5, App. 002. Dr. Purl estimates that victims of abuse

are more likely to be brought to small walk-in clinics like hers than to larger

medical facilities. Purl Decl. ¶ 5, App. 002. She has encountered situations in which

the likelihood of imminent abuse was so apparent that she caused the patient to

remain at the Clinic while she called the local police to intervene. Purl Decl. ¶ 5,

App. 002. In other situations, evidence of abuse was not readily apparent and



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discovered only later, such as upon review of X-rays that show old fractures or other

indications of physical trauma. Purl Decl. ¶ 5, App. 002. When Dr. Purl or her

employees have suspected a patient was being abused or neglected, they have made

reports to local law enforcement or Texas Child Protective Services (CPS) in

accordance with Texas law. Purl Decl. ¶ 5, App. 002.

      A significant proportion of the patients at the Clinic are children, young

women, and pregnant women. Purl Decl. ¶ 6, App. 002. During flu season, 10 to 20

children can come to the Clinic each day. Purl Decl. ¶ 11, App. 004. The Clinic

provides services to many women seeking pregnancy tests, as a positive pregnancy

test is a component of the applications for medical coverage under Texas’s Medicaid

for Pregnant Women and CHIP Perinatal programs. Purl Decl. ¶ 6, App. 002.

      The routine collection of information about a female patient includes

information about the patient’s last menstrual period, her age of menarche, number

of pregnancies, and number of live births. Purl Decl. ¶ 7, App. 003. If the number of

live births is less than the number of pregnancies, Dr. Purl inquires to determine

whether the patient experienced a spontaneous abortion, more commonly known as

a miscarriage, or whether the pregnancy was terminated by an induced abortion.

Purl Decl. ¶ 7, App. 003. In her experience, a thorough gynecologic history will

include most or all of this patient information. Purl Decl. ¶ 7, App. 003.

      Dr. Purl’s practice regularly includes caring for pregnant women and girls.

Purl Decl. ¶ 8, App. 003. It is common for Dr. Purl and clinic employees to

encounter adolescent girls who are under the age of consent and are pregnant or

report sexual activity. Purl Decl. ¶ 8, App. 003. Dr. Purl estimates she has treated

hundreds of such girls and has delivered babies from mothers as young as 12 years

old. Purl Decl. ¶ 8, App. 003. Dr. Purl further estimates that she has treated more

than 100 children who were victims of sexual abuse, that Clinic personnel have

treated hundreds of child victims, and that this is typical of family medical


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practices. Purl Decl. ¶ 9, App. 003. Dr. Purl previously served as medical director of

an emergency department and as an emergency physician, where she routinely

encountered children who were victims of sexual abuse. Purl Decl. ¶ 10, App. 003.

      Each year, Dr. Purl and the Clinic cooperate with 10–12 requests for patient

records from CPS to facilitate its investigations of suspected child abuse and

neglect. Purl Decl. ¶ 13, App. 004. The demands from CPS are for the full,

unredacted patient chart, whether or not the patient or his or her parent or

guardian consent to the disclosure. Purl Decl. ¶ 13, App. 004. Dr. Purl and the

Clinic comply with these demands, as is their duty under Texas law. Purl Decl.

¶ 13, App. 004.

      In her role as a physician, Dr. Purl considers both a pregnant woman and her

unborn child to be human persons, and her obligation as the treating physician is to

care for both persons as her patients. Purl Decl. ¶ 6, App. 002. She believes that

both mother and child are entitled to care according to sound medical judgment and

conscience, and that both deserve the protection of the law. Purl Decl. ¶ 6, App. 002.

She also believes that elective abortions, or medical treatments trying to achieve

“gender transition” of children, harm patients’ health and the public health. Purl

Decl. ¶ 6, App. 002–003.

      Dr. Purl and the Clinic will incur compliance costs of at least $6,785.00. Purl

Decl. ¶¶ 15–16, 18, App. 005–006. HHS likely underestimated what the actual cost

will be. Purl Decl. ¶ 15, App. 005. Dr. Purl estimates that conducting training for

the Clinic employees alone could cost between $1,800 and $5,400. Purl Decl. ¶ 15,

App. 005. In its calculations HHS did not appear to include loss of income from

undertaking the compliance obligations. Yet during the time employees are

receiving training, or Dr. Purl is conducting training and revising policies and

notices, they cannot see patients and the Clinic cannot derive revenue from those

services. Purl Decl. ¶¶ 17–18, App. 006–07. If the Clinic were closed for even one


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hour to conduct staff training, it would lose at least $1,385 in fees, copays, and

insurance reimbursements. Purl Decl. ¶ 18, App. 006. Dr. Purl personally would

lose between $360 and $480 per hour spent on compliance-related activities. Purl

Decl. ¶ 18, App. 007.

II.   HIPAA and the 2000 Privacy Rule

      HIPAA was enacted in 1996 to “improve portability and continuity” and

“simplify the administration of health insurance.” Pub. L. No. 104-191, 110 Stat.

1936, 1936 (1996). It includes privacy protections for patients’ personal information.

As important here, HIPAA provides that a person who “knowingly … discloses

individually identifiable health information to another person, shall be punished”

according to the criteria set forth in regulations HHS is to issue under the statute.

42 U.S.C. § 1320d-6.

      HIPAA says nothing about particular medical procedures, abortion,

“reproductive health care,” or gender transitions. Rather, it aims to protect the

privacy of patient records, generally. There are no carve-outs for politically favored

or disfavored procedures. And Congress did not write HHS a blank check to issue

privacy regulations. HIPAA explicitly preserved the authority of states to collect
information about abuse and public health, and therefore the ability of medical
practitioners to cooperate with those investigations. “Nothing in this part shall be

construed to invalidate or limit the authority, power, or procedures established

under any law providing for the reporting of disease or injury, child abuse, birth, or

death, public health surveillance, or public health investigation or intervention.” Id.

§ 1320d-7(b).

      In 2000, HHS adopted the “Privacy Rule,” entitled Standards for Privacy of

Individually Identifiable Health Information. 65 Fed. Reg. 82,462. The Privacy Rule

generally applies to regulated entities, including “health care provider[s] who



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transmit[ ] … health information in electronic form.” 45 C.F.R. § 160.102; see id.

§ 164.500. The Privacy Rule’s “major goal” “is to assure that individuals’ health

information is properly protected while allowing the flow of health information

needed to provide and promote high quality health care and to protect the public’s

health and well being.” 1

       The Privacy Rule sets standards for using and disclosing protected health

information (“PHI”) without the patient’s approval. These include disclosures: “for a

law enforcement purpose to a law enforcement official,” 45 C.F.R. § 164.512(f ); “[i]n

response to an order of a court” or “a subpoena, discovery request, or other lawful

process,” id. § 164.512(e)(1)(i), (ii); “to a health oversight agency for oversight

activities authorized by law,” id. § 164.512(d)(1); and to a “public health authority

… for the purpose of preventing or controlling disease, injury, or disability,”

including “the conduct of public health surveillance, public health investigations,

and public health interventions,” id. § 164.512(b)(1)(i).

III.   HHS conscripts HIPAA into its campaign against Dobbs.

       In 2022, the U.S. Supreme Court ended a half-century of judicial usurpation

of state authority, reversed Roe and Casey, and returned the power to regulate

abortion “to the people and their elected representatives.” Dobbs, 597 U.S. 215, 259.

The Court recognized the States’ “legitimate interests” in promoting “respect for

and preservation of prenatal life at all stages of development; the protection of

maternal health and safety; the elimination of particularly gruesome or barbaric

medical procedures; the preservation of the integrity of the medical profession; the

mitigation of fetal pain; and the prevention of discrimination on the basis of race,

sex, or disability.” Id. at 301 (internal citation omitted).


1     See HHS Office for Civil Rights, Summary of the HIPAA Privacy Rule 1 (May
13, 2003), https://www.hhs.gov/sites/default/files/privacysummary.pdf.


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      HHS and Secretary Becerra scorned Dobbs, calling it “unconscionable.” 2

Secretary Becerra called abortion a “basic and essential part of health care,” and

boasted of his decades-long “fight for reproductive freedom for everyone, no matter

who you are, where you live or how much you make.” 3 Secretary Becerra committed

HHS “to ensure every American has … the right to safe and legal abortion,” and said

he had “directed every part of my Department to do any and everything we can,”

and to “use every lever we have to protect access to abortion care.” 4

      Secretary Becerra’s opposition to Dobbs led to a coordinated, agency-wide

campaign to contort HHS’s statutory authorities to promote abortion. He

immediately took actions that other courts have since concluded exceeded HHS’s

authority. He issued a mandatory memorandum from the Centers for Medicare &

Medicaid Services (“CMS”) that tried to force emergency rooms and doctors to

perform abortions under the 1986 law the Emergency Medical Treatment and Labor

Act (“EMTALA”). 5 Judge Hendrix permanently enjoined this mandate, the Fifth
Circuit affirmed, and the Supreme Court denied HHS’s request for review. 6

      Through HHS’s Office for Civil Rights (“OCR”), which issued the 2024 Rule

challenged here, Secretary Becerra issued a first-of-its-kind “guidance” ordering



2      Press Release, U.S. Dep’t of Health & Hum. Servs., HHS Secretary Becerra’s
Statement on Supreme Court Ruling in Dobbs v. Jackson Women’s Health
Organization (June 24, 2022), https://perma.cc/89AZ-RFL4.
3      HHS Press Release, supra note 2 (emphasis added).
4      HHS Press Release, supra note 2.
5      See Mem. from CMS on Reinforcement of EMTALA Obligations specific to
Patients who are Pregnant or are Experiencing Pregnancy Loss (QSO-21-22-
Hospitals- UPDATED JULY 2022) (July 11, 2022) (revised Aug. 25, 2022),
https://perma.cc/ND68-86SK.
6      Texas v. Becerra, No. 5:22-CV-185-H, 2023 WL 2467216 (N.D. Tex. Jan. 13,
2023) (amended judgment permanently enjoining enforcement of the memoran-
dum), affirmed 89 F.4th 529 (5th Cir. 2024), cert. denied, No. 23-1076, 2024 WL
4426546 (U.S. Oct. 7, 2024).


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pharmacies to dispense drugs for abortion purposes, claiming authority from

Section 504 of the Rehabilitation Act of 1973. 7 Judge Counts rejected HHS’s motion

to dismiss a challenge to that mandate, declaring that the guidance was transpar-

ently issued to require abortion drugs in response to Dobbs. 8 OCR eventually

revised the guidance to withdraw its abortion-drug mandate. 9

      At the same time, Secretary Becerra signaled he planned to use the 28-year-

old HIPAA statute to promote abortion. In June 2022, OCR issued “guidance” tying

HIPAA to “comprehensive reproductive health care services, including abortion

care,” and citing the Secretary’s opposition to Dobbs. 10 In January 2023, Secretary
Becerra issued a report comprehensively documenting HHS’s broad efforts to

promote abortion in opposition to Dobbs, and listing OCR’s HIPAA guidance as if it

prohibits disclosures of information about abortion to pro-life states. 11 But because




7      See HHS OCR, Guidance to Nation’s Retail Pharmacies: Obligations under
Federal Civil Rights Laws to Ensure Access to Comprehensive Reproductive Health
Care Services (July 13, 2022), https://web.archive.org/web/20220713185710/
https://www.hhs.gov/sites/default/files/pharmacies-guidance.pdf.
8      Texas v. HHS, 681 F. Supp. 3d 665, 679 (W.D. Tex. 2023) (“Claiming now that
the executive branch’s actions are not about abortion is disingenuous at best.”).
9      See HHS OCR, Guidance to Nation’s Retail Pharmacies: Obligations under
Federal Civil Rights Laws to Ensure Nondiscriminatory Access to Health Care at
Pharmacies (Sept. 29, 2023) (“Revised guidance: On September 29, 2023, OCR
revised this guidance to clarify that the guidance does not require pharmacies to fill
prescriptions for medication for the purpose of abortion.”), https://perma.cc/S8ZB-
WXRD.
10     HHS OCR, HIPAA Privacy Rule and Disclosures of Information Relating to
Reproductive Health Care (June 20, 2022), https://www.hhs.gov/hipaa/for-
professionals/privacy/guidance/phi-reproductive-health/index.html.
11     HHS, Marking the 50th Anniversary of Roe: Biden-Harris Administration
Efforts to Protect Reproductive Health Care (Jan. 19, 2023), https://perma.cc/HUC4-
4WBL.


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the 2000 Privacy Rule allowed doctors to disclose information for state investiga-

tions—consistent with HIPAA’s statutory admonition protecting state abuse and

public health reporting laws—Secretary Becerra proposed this rule (the 2024 Rule).

IV.   The 2024 Rule creates a “reproductive health care” carve-out to
      promote abortion and gender transition.

      The 2024 Rule admits it reacts to the “[t]he Supreme Court’s decision in

Dobbs [that] overturned Roe v. Wade and Planned Parenthood of Southeastern

Pennsylvania v. Casey, thereby enabling states to significantly restrict access to

abortion.” 89 Fed. Reg. at 32,987. On announcing the 2024 Rule, Secretary Becerra

stated, “We’re making it clear: you have the right to privacy—Dobbs did not take it

away.” 12 To be sure, HIPAA was unaffected by Dobbs, and its 20-year-old privacy

protections continue to shield patient information from improper disclosure. But the

2024 Rule distorted those privacy protections when it comes to HHS’s favored

medical procedures—particularly abortion and gender transition interventions.

      The 2024 Rule accomplishes this through expansive new restrictions on

information relating to “reproductive health care,” broadly defined to include any

“health care … that affects the health of an individual in all matters relating to the

reproductive system and to its functions and processes.” 45 C.F.R. § 160.103. The

2024 Rule’s preamble specifies that “reproductive health care” should be “inter-

preted broadly and inclusive of all types of health care related to an individual’s

reproductive system” and that it “encompasses the full range of health care related

to an individual’s reproductive health.” 89 Fed. Reg. at 33,005. That definition

includes medical interventions associated with “gender identity.” 89 Fed. Reg. at




12     Secretary Xavier Becerra (@SecBecerra), X (Apr. 22, 2024, 11:32 PM),
https://x.com/SecBecerra/status/1782432173665960400, App. 008.


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32,989 n.163; see also HIPAA Privacy Rule to Support Reproductive Health Care

Privacy, 88 Fed. Reg. 23,506, 23,521 n.180 (proposed Apr. 17, 2023).

       From there, the 2024 Rule restricts covered entities from disclosing

information to state officials and law enforcement in cooperation with efforts to

obtain evidence of a crime, another potential violation of state law, or threats to

public health related to “reproductive health care.” A covered entity may not

disclose PHI sought:

          (1) [t]o conduct a criminal, civil, or administrative investigation into
          any person for the mere act of seeking, obtaining, providing, or
          facilitating reproductive health care[;]

          (2) [t]o impose criminal, civil, or administrative liability on any
          person for the mere act of seeking, obtaining, providing, or
          facilitating reproductive health care[; or]

          (3) [t]o identify any person [for these purposes].

45 C.F.R. § 164.502(a)(5)(iii)(A).

       The 2024 Rule prohibits disclosure of PHI—even in response to lawful

process—if:
          (1) [t]he reproductive health care is lawful under the law of the
          state in which such health care is provided under the circumstances
          in which it is provided[;]

          (2) [t]he reproductive health care is protected, required, or
          authorized by Federal law, including the United States
          Constitution, under the circumstances in which such health care is
          provided, regardless of the state in which it is provided[; or]

          (3) [t]he presumption [that the “reproductive health care” at issue
          was lawful] applies.

Id. § 164.502(a)(5)(iii)(B).

       The 2024 rule creates a presumption that “reproductive health care” provided

by another person was lawful. See id. § 164.502(a)(5)(iii)(B)(3) & (C). The



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presumption is overcome only if (1) the covered entity has actual knowledge that

the reproductive health care was not lawful or (2) the person requesting disclosure

of PHI supplies “[f ]actual information … that demonstrates a substantial factual

basis that the reproductive health care was not lawful.” Id. § 164.502(a)(5)(iii)(C).

       Many requests for information must include an “attestation” meeting strict

requirements set by HHS, untethered from state-law procedures. 45 C.F.R.

§ 164.509(a)(1); see id. § 164.512. If the attestation is deficient, disclosure is

prohibited by the 2024 Rule even if it would be required by state law—and the

HIPAA-covered entity bears the risk HHS will later determine the attestation was

deficient. See id. § 164.509(a)(2).

       The 2024 Rule also narrows a provision that previously allowed disclosures of

information in response to an administrative request. It limits disclosures to times

when a response is “required by law.” 45 C.F.R. § 164.512(f )(1)(ii)(C). Previously,

information could be provided in response to an “administrative request” even if not

required. See id. § 164.512(f )(1)(ii)(C) (2016). In other words, if compliance is

voluntary, not mandatory, the 2024 Rule now prohibits disclosure.

       The 2024 Rule also makes definitional changes intended to make it more

difficult for pro-life states to investigate violations of their laws. It defines “person”

to exclude any unborn child. 89 Fed. Reg. at 33,062. And it adds a definition of

“public health” that excludes abortion and gender-transition interventions from

“public health surveillance,” “public health investigation,” and “public health

intervention.” Id. at 33,062–63 (codifying changes to 45 C.F.R. § 160.103).

       The 2024 Rule’s special “reproductive health care” restrictions are one-sided.

The 2024 Rule does not “prevent regulated entities from using or disclosing PHI to

defend themselves or others against allegations that they sought, obtained,

provided, or facilitated reproductive health care.” Id. at 33,011. In other words, the

2024 Rule allows disclosure to defend against a claim or prosecution involving


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“reproductive health care,” such as when a medical provider violates state laws

against abortion or child “gender transitions,” but prevents doctors from disclosing

similar information to further enforcement of such laws or protect public health.

                                     ARGUMENT

      A party seeking a preliminary injunction must show “(1) it is likely to succeed

on the merits, (2) it is likely to suffer irreparable harm without an injunction,

(3) the balance of equities tips in its favor, and (4) an injunction is in the public

interest.” United States v. Abbott, 110 F.4th 700, 706 (5th Cir. 2024) (citing Winter

v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 20 (2008)).

I.    Dr. Purl and the Clinic have standing to challenge the 2024 Rule.

       “When a plaintiff is an object of a regulation there is ordinarily little

question that the [agency’s] action or inaction has caused him injury, and that a

judgment preventing or requiring the action will redress it.” Texas Med. Ass’n v.

HHS, 110 F.4th 762, 773 (5th Cir. 2024) (cleaned up). Dr. Purl and the Clinic have

standing to bring this challenge. Both Dr. Purl and the Clinic are subject to HIPAA.

As “health care provider[s] who transmit[ ] health information in electronic form in

connection with a transaction covered by” rules issued by HHS under HIPAA’s
rulemaking authority, Dr. Purl, the Clinic, and Clinic employees are “covered

entities” under 45 C.F.R. § 160.103.

      The 2024 Rule requires Dr. Purl and the Clinic to generally comply with its

disclosure restrictions by December 23, 2024, and issue updated notices of patient

privacy by February 16, 2026. See 89 Fed. Reg. at 32,976. That means they will

incur financial compliance costs. See id. at 33,049, 33,056. Such costs are “obvious”

concrete harms, TransUnion LLC v. Ramirez, 594 U.S. 413, 425 (2021), and are

particularized to plaintiffs whom they affect directly, Spokeo, Inc. v. Robins,

578 U.S. 330, 339–40 (2016). Plaintiffs should not need to “expos[e] themselves to


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punishment or enforcement action” before receiving a ruling from this Court.

Braidwood Mgmt., Inc. v. EEOC, 70 F.4th 914, 927–28 (5th Cir. 2023).

II.   Dr. Purl and the Clinic are likely to succeed on their APA claims.

      Under the Administrative Procedure Act (“APA”), a reviewing court must

“hold unlawful and set aside agency action” that is contrary to law. 5 U.S.C.

§ 706(2). In the 2024 Rule, HHS exceeded its statutory authority in two ways:

First, it contradicted Congress’ express reservation of states’ authority to obtain

abuse reporting and public health information, and it gerrymandered HIPAA

around abortion and gender identity with no textual grounds for doing so.

Second, HHS acted arbitrarily in making doctors guess which abortions are legal

based on unsound assumptions.

      A.     The 2024 Rule conf licts with HIPAA’s preservation of state
             investigative authority.

      The 2024 Rule illegally restrains disclosures made for abuse reporting and

public health investigations that the HIPAA statute expressly preserves for state

authorities. Like all Texans, Dr. Purl and her employees must report child abuse

and neglect. Tex. Fam. Code § 261.101(a). But as a “professional” “licensed or

certified by the state or who is an employee of a facility licensed, certified, or

operated by the state and who, in the normal course of official duties or duties for

which a license or certification is required, has direct contact with children,” Dr.

Purl and each of her employees bears greater responsibility. Id. § 261.101(b). Texas

requires such professionals having “reasonable cause to believe that a child has

been abused or neglected or may be abused or neglected, or that a child is a victim

of an offense under Section 21.11” of the Texas Penal Code (“Indecency With a

Child”) to report the same within 48 hours. Id. The term “professional” “includes …

nurses, doctors, [and] employees of a clinic or health care facility that provides



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reproductive services ....” Id. Under Texas law, the failure of a “professional” to

report abuse or neglect is a Class A misdemeanor, or, as for some particularly

vulnerable children, a felony. Tex. Fam. Code § 261.109. There is a similar

reporting obligation for evidence of abuse of a vulnerable adult, such as someone

with a disability. Tex. Hum. Res. Code § 48.051.

             1.     The 2024 Rule unlawfully limits disclosures about abuse
                    and public health to state authorities.

      The 2024 Rule defies Congress’s express directive that HHS may not limit

disclosures necessary to protect children from abuse. Congress could not have been

more clear: HHS cannot “limit the authority, power, or procedures established

under any law providing for the reporting of disease or injury, child abuse, birth, or

death, public health surveillance, or public health investigation or intervention.”

42 U.S.C. § 1320d-7(b) (emphasis added). By definition, all of the “reproductive

health care” restrictions in the 2024 Rule “limit” the ability of doctors to comply

with mandatory abuse reporting laws and requests for information about public

health. And, worse still, the 2024 Rule is not evenhanded—it expressly allows the

very same disclosures to “defend against” alleged unlawful provision of

“reproductive health care,” e.g., an illegal elective abortion. To be sure, the 2024

Rule creates a labyrinth of criteria where disclosure might be allowed despite the

2024 Rule’s additional restrictions. Those intricacies do not help, though, because

the 2024 Rule creates limits on abuse and public health reporting while the statute

allows no such “limit[s].” 42 U.S.C. § 1320d-7(b).

      Courts have long recognized that HIPAA’s protection of PHI is limited by this

and similar anti-preemption provisions. Wassef v. Tibben, 68 F.4th 1083, 1089 (8th

Cir. 2023); see also Seaton v. Mayberg, 610 F.3d 530, 541 (9th Cir. 2010) (noting that

Congress “evidently recogniz[ed] the well-established need for disclosure” in situa-

tions excepted from HIPAA’s preemption provision); Citizens for Health v. Leavitt,


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428 F.3d 167, 172 (3d Cir. 2005). HIPAA’s exceptions include the state-law

reporting requirements and procedures relating to public health and child abuse

explicitly referenced in 42 U.S.C. § 1320d-7(b).

             2.     The 2024 Rule unlawfully redefines “person” and “public
                    health” to exclude state laws on abortion and gender
                    transition.

      HIPAA similarly does not authorize HHS to issue its own definition of

“persons,” much less to do so to exclude unborn children. HIPAA does not define

“person” or authorize HHS to define person. The Dictionary Act (Chapter 1 of Title 1

of the United States Code) is the default rule governing the definition of words in

statutes. Burwell v. Hobby Lobby Stores, Inc., 573 U.S. 682, 707 (2014). The Dictio-

nary Act states that the word “person” includes “individuals.” 1 U.S.C. § 1. In 2002,

Congress further amended the act with the Born-Alive Infants Protection Act, id.

§ 8, which states that “the words ‘person’, ‘human being’, ‘child’, and ‘individual’,

shall include every infant member of the species homo sapiens who is born alive at

any stage of development.”

      The 2024 Rule enacts a definition of “person” not authorized by the

Dictionary Act or HIPAA. It declares that under the Privacy Rule “person” means a
“natural person (meaning a human being who is born alive).” 89 Fed. Reg. at

33,062. This deliberately excludes the unborn child. The change prevents Dr. Purl

and the Clinic from considering the child a person. It prevents them from protecting

the child’s information and from making necessary disclosures about abuse and

public health.

      There is no statutory authority for this change. Unlike the Dictionary Act,

which says “person” includes “individuals” and includes infants “born alive,” the

2024 Rule enacts an exclusive definition so “person” does not include a human being

before he or she is born alive. Nothing in the Dictionary Act or the Born-Alive



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Infants Protection Act authorizes a definition of person that excludes the unborn.

They are inclusive definitions, not exclusive definitions. The 2024 Rule lacks

authority to change HIPAA to exclude the unborn.

      The 2024 Rule similarly lacks authority to define “public health” to limit

states’ exercise of their authority over medical practice when it comes to

“reproductive health care.” See 89 Fed. Reg. 33,062–63 (codifying changes to

45 C.F.R. § 160.103). Nothing in HIPAA authorizes HHS to declare that the harms

from abortion, medical gender-transition interventions, or other politically favored

procedures do not count as “public health” concerns. On the contrary, as explained

above, HIPAA explicitly states that the statute cannot be used to preempt state

laws about obtaining information for public health. 42 U.S.C. § 1320d-7(b). Yet HHS

claims authority to negate HIPAA’s anti-preemption clause by treating public-

health concerns not shared by the political party controlling HHS as, by definition,

not “public health.” Congress gave no such authority in HIPAA.

             3.     The 2024 Rule disrespects federalism.

      The 2024 Rule’s constraints on covered entities contradict HIPAA’s

preservation of state authority and respect for federalism. “Congress should make

its intention clear and manifest if it intends to pre-empt the historic powers of the
States.” Will v. Mich. Dep’t of State Police, 491 U.S. 58, 65 (1989) (cleaned up). “This

plain statement rule is nothing more than an acknowledgment that the States

retain substantial sovereign powers under our constitutional scheme, powers with

which Congress does not readily interfere.” Gregory v. Ashcroft, 501 U.S. 452, 461

(1991). These structural principles protect “individual[s],” not just states. Bond v.

United States, 564 U.S. 211, 222 (2011); see also New York v. United States, 505

U.S. 144, 181 (1992).




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      To say the least, HIPAA does not provide clear notice of the disclosure

restrictions created by the 2024 Rule. See Bennett v. New Jersey, 470 U.S. 632, 638

(1985). Indeed, HIPAA expressly reserves state power to obtain such information

from medical practitioners. Thus the 2024 Rule exceeds HHS’s constitutional power

and privilege under the APA. These “grave constitutional concerns” are another

reason the 2024 Rule is likely contrary to law. Mexican Gulf Fishing Co. v. U.S.

Dep’t of Com., 60 F.4th 956, 966–67 (5th Cir. 2023).

      B.     The 2024 Rule exceeds statutory authority by imposing special
             rules for abortion and “reproductive health care.”

      HIPAA has nothing to say about abortion, gender transitions, or other

“reproductive health care.” It does not mention particular medical conditions or

procedures at all. It is about patient health information generally, and its terms are

uniform across medical conditions and procedures. Nothing authorizes HHS to

create special disclosure rules for procedures it favors and a different disclosure

regime for every other kind of medical records.

      The 2024 Rule makes no serious attempt to locate statutory authority for

deploying HIPAA in the government-wide campaign against Dobbs. As sources of

rulemaking authority, it generically cites HIPAA and the Health Information

Technology for Economic and Clinical Health (HITECH) Act of 2009, Pub. L. No.

111-5. 89 Fed. Reg. at 32,980–84. HHS and Secretary Becerra try to explain the

origins of their novel exceptionalism for “reproductive health care” by citing

“recommend[ations]” by various medical bodies and the agency’s own vacillation on

whether to issue this rule. 89 Fed. Reg. at 32,983. This is barely a rationale. And it

is telling—even HHS does not claim there is statutory authority for the 2024 Rule’s

abortion exceptionalism.

      The Supreme Court has made it clear that agencies may not create

nationwide policy shifts using statutes that have nothing to do with that issue. For


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example, it was “not plausible that Congress gave EPA the authority to adopt” a

regulation that would “force a nationwide transition away from the use of coal”

based on statutory language lacking any such indication. West Virginia v. EPA,

597 U.S. 697, 735 (2022). And the Supreme Court blocked the Biden administra-

tion’s COVID vaccine regulation, citing both the purported statutory authority’s

focus on workplace safety, “not broad public health measures,” as well as the “lack

of historical precedent” for the rule. Nat’l Fed’n of Indep. Bus. v. Dep’t of Lab.,

595 U.S. 109, 117, 119 (2022). Similarly, HIPAA is focused (as relevant here) on

patient information and privacy. It includes no reference to politically favored

procedures, or to specific medical procedures at all.

      As to precedent, there is none. HHS cites only one allegedly similar rule: Its

previous amendments creating special rules for how to handle psychotherapy notes.

89 Fed. Reg. at 32,977–78. This is no precedent for using HIPAA to promote

abortion, because psychotherapy notes are a type of health record, and HIPAA is a

statute about health records. Abortion, gender transition, and “reproductive health

care,” however, are not types of health records, they are procedures. HIPAA does

not authorize different disclosure rules for different kinds of medical care.

      Congress gave HHS no authority to use HIPAA as a weapon in policy

disputes about abortion, gender-transition, or other “reproductive health care.”

Because the agency lacks statutory authority, the 2024 Rule exceeds HHS’s

authority and is contrary to law.

      C.     The 2024 Rule forces doctors to interpret the legality of
             abortion, making it arbitrary and capricious.

      The APA’s arbitrary and capricious standard requires that agency action be

“reasonable and reasonably explained.” FCC v. Prometheus Radio Project, 592 U.S.

414, 423 (2021). The standard applies to “all agency action, even ‘predictive




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judgment[s] based on the evidence’ available.’ ” El Paso Elec. Co. v. FERC, 76 F.4th

352, 364 (5th Cir. 2023) (quoting Promethus Radio, 592 U.S. at 427).

      The 2024 Rule is not “reasonably explained” because it requires physicians

like Dr. Purl to make legal judgments. The 2024 Rule requires healthcare providers

to determine which abortions are legal and which governmental requests for

information are valid under federal law.

      Under the 2024 Rule, HIPAA-covered entities must first determine whether

an instance of “reproductive health care” was legal to determine whether they may

disclose information relating to that procedure. 89 Fed. Reg. at 33,063 (codified at

45 C.F.R. § 164.502(a)(5)(iii)). In making that legal judgment, the 2024 Rule

requires that a physician like Dr. Purl presume that “reproductive health care” is

lawful unless she has actual knowledge of unlawfulness or the requesting law

enforcement agency supplies “factual information … that demonstrates a substan-

tial factual basis that the reproductive health care was not lawful under the specific

circumstances in which it was provided.” 45 C.F.R. § 164.502(a)(5)(iii)(C). In many

instances, medical practitioners must assess the accompanying “attestation” and

determine whether it meets HHS’s strict requirements for validity. Id. § 164.509.

These sorts of legal determinations are not within the scope of a healthcare

provider’s usual competence. And yet, if the provider ends up being wrong she could

be subject to significant civil and criminal penalties.

      At the same time, the 2024 Rule’s presumption requires Dr. Purl and the

Clinic to ignore what they do know about the law. In Texas, as in many other states,

elective abortion is not legal. See Tex. Health & Safety Code § 170A.002. Neither

are gender-transition procedures on children. Id. § 161.702. And it is unlawful to

mail abortion-inducing drugs from outside the state. See 18 U.S.C. §§ 1461–62; Tex.

Health & Safety Code § 171.063(b-1). It makes no sense for HIPAA-covered entities




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in Texas (and many other states) to assume an abortion or gender-transitioning

intervention was legal under these circumstances.

      To further complicate matters, HHS considers a procedure legal any time

“[t]he reproductive health care is protected, required, or authorized by Federal law,

including the United States Constitution, under the circumstances in which such

health care is provided, regardless of the state in which it is provided.” 45 C.F.R.

§ 164.502(a)(5)(iii)(B)(2). Secretary Becerra has declared his office disagrees with

Dobbs. 13 And even today—two years after Dobbs—OCR maintains guidance

claiming that abortions are lawful “under federal law” if they would have been

treated as constitutionally protected under the Roe/Casey regime. 14 And HHS has
claimed that other federal statutes, like EMTALA, require abortions. 15 So to comply

with the 2024 Rule, covered entities must engage in legal analysis to determine

whether “reproductive health care” is “authorized by federal law” and assess the

facts underlying state requests for information.

      The resulting scheme is contrary to law. The 2024 Rule does not explain or

justify requiring such legal prognostication by HIPAA-covered entities. It gives no

explanation or rationale for how a practitioner is supposed to determine whether

the factual information provided with a request for information shows an abortion

or gender transition was not legal. And it makes no attempt to justify considering


13     See HHS Press Release, supra note 2.
14     HHS OCR, Guidance on Nondiscrimination Protections under the Church
Amendments (reviewed by OCR Feb. 3, 2023) (stating that “it is unconstitutional for
a state to prohibit a patient from ending a pregnancy prior to fetal viability,” “a
state statute that has the effect of placing a substantial obstacle in the path of a
woman’s choice [to have a lawful abortion] cannot be considered a permissible
means of serving its legitimate ends,” and federally funded or provided abortions
are also lawful), https://hhs.gov/conscience/conscience-protections/guidance-church-
amendments-protections/index.html, App. 009–013.
15     See HHS OCR Guidance on Nondiscrimination Protections, supra note 14,
App. 009–013, and CMS Mem., supra note 5.


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certain abortions to be “authorized by Federal law” because HHS prefers Roe to

Dobbs, even though Dobbs is controlling precedent. Must doctors apply the “undue

burden” test of Casey, simply because HHS disagrees with Dobbs? And does the

standard change when people with different views on Dobbs lead HHS or its civil

rights office? It is not reasonable to require doctors to evaluate state law based on a

constitutionally infirm standard, much less do so at their own peril when reporting

information required or requested by states.

       The 2024 Rule contains other actions, findings, and conclusions that are not

reasonably explained. These include the justification for restrictively defining

“person” and “public health,” expansively defining “reproductive health care,”

45 C.F.R. § 160.103, and how covered entities are to comply with the 2024 Rule’s

new attestation requirements, 45 C.F.R. § 164.509. For all these reasons, the 2024

Rule is likely arbitrary and capricious, and thus contrary to law.

III.   The 2024 Rule will cause irreparable harm.

       A. Dr. Purl and employees of the Clinic have encountered and will encounter

patients who they reasonably believe are victims of abuse or neglect. As profession-

als subject to the laws of the State of Texas, they have an obligation to report their

findings to appropriate law enforcement authorities within 48 hours. Failure to
report as required by Texas law could subject them to civil and criminal liability,

including possible incarceration. Liability aside, Dr. Purl and the Clinic wish to

comply with all abuse reporting laws to protect their patients, and they wish to

cooperate with information requests authorized by state law, whether compliance is

required or permissive. They fear, however, that they or their employees will violate

the 2024 Rule if they report information consistent with state law.

       At the same time, the 2024 Rule threatens civil and criminal consequences to

Dr. Purl and Clinic employees if they do disclose PHI to protect patients and in



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cooperation with law enforcement. That threat creates an irreconcilable conflict that

will inevitably harm Dr. Purl and the Clinic. Complying with state law in violation

of the 2024 Rule would subject Dr. Purl and the Clinic to significant civil penalties

and even criminal consequences including up to 10 years in prison and $250,000 in

fines. 42 U.S.C. § 1320d-6(b). But refusing to disclose information to state agencies

who seek it through lawful process, such as an administrative subpoena or court

order, would subject Plaintiffs to possible liability and contempt proceedings—not to

mention risk endangering patients’ health and safety.

      B. The 2024 Rule also imposes financial costs. These include, at a minimum,

the costs identified in the 2024 Rule, such as costs to update notices of patient

privacy, develop new or modified policies and procedures, and revise training

programs for staff. See 89 Fed. Reg. at 33,049, 33,052 tbl.4. As the sole owner of the

Clinic, Dr. Purl must ensure such compliance. The 2024 Rule estimates that covered

entities will incur at least $132.23 to revise notices of patient privacy and $24.46 to

post them online, $393.70 to develop new or modified policies and procedures, and

$100.77 for workforce training. 89 Fed. Reg. at 33,056. Based on the value of Dr.

Purl’s time, the Clinic’s staff ’s time, and the cost of legal services, Dr. Purl and the

Clinic will incur costs at least in the amount estimated by the 2024 Rule, and likely

more. Purl Decl. ¶¶ 15–18, App. 005–006.

      The “nonrecoverable costs of complying with a putatively invalid regulation

typically constitute irreparable harm.” Rest. L. Ctr. v. U.S. Dep’t of Lab., 66 F.4th

593, 597 (5th Cir. 2023). That is the case here, where sovereign immunity bars

recovery of damages from HHS. See id. Plaintiffs need preliminary injunctive relief

against both the disclosure restrictions and compliance costs beginning on

December 23, 2024, and against the notice-related requirements and compliance

costs beginning on February 16, 2026.




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IV.   The remaining factors favor Dr. Purl and the Clinic.

      The final preliminary injunction factors are the balance of equities and the

public interest; these factors “ ‘merge when the Government is the opposing party.’ ”

Clarke v. Commodity Futures Trading Comm’n, 74 F.4th 627, 643 (5th Cir. 2023)

(quoting Nken v. Holder, 556 U.S. 418, 435 (2009)). The balance of equities tilts

heavily in favor of plaintiffs. Covered entities will risk violating their state-law

abuse-reporting obligations if they comply with the 2024 Rule, but HIPAA enforce-
ment action if they do not. Law enforcement will be hindered in investigating crime

and abuse, and children and women will be put at risk. HHS has no interest in

covering up abuse and crime or interfering with states’ authority over medical

practice and public health. Balanced against a slight delay in implementing HHS’s

pro-abortion policy goals, there is no contest. HIPAA and its existing regulations

will continue to protect patient privacy relating to “reproductive health care” just as

before—on the same terms as all other PHI.

      Secretary Becerra’s stated concern, 16 is that Dobbs has made it harder to
obtain an abortion in the United States, and HHS wants to ensure individuals “are

comfortable accessing high-quality health care” and have easier access to abortion

and gender-transition interventions. 89 Fed. Reg. at 32,984 (cleaned up). To be sure,

many states have acted to protect life by regulating elective abortion and limiting

gender-transition procedures to adults. Secretary Becerra does not agree with those

choices, but the federal government has no legitimate interest in interfering with

state policy judgments. And even if it did, the 2024 Rule does not change these

policies—it only makes it easier for abuse and crime to persist undetected.

      Finally, the APA restrains the federal bureaucracy from acting ultra vires.

The 2024 Rule is arbitrary and capricious, as explained above, and “[t]he public

16    See HHS OCR Guidance on Nondiscrimination Protections, supra note 14,
App. 009–013, and CMS Mem., supra note 5.


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interest is served when administrative agencies comply with their obligations under

the APA.” Clarke, 74 F.4th at 643–44 (quoting N. Mariana Islands v. United States,

686 F. Supp. 2d 7, 21 (D.D.C. 2009)).

                                  CONCLUSION
      Dobbs returned “the authority to regulate abortion … to the people,” 597 U.S.

at 292, to be exercised through “the democratic process,” id. at 269. Disappointed

with the policies chosen by many Americans, through their legislatures, Secretary

Becerra issued the 2024 Rule to undermine state abortion laws. The Court should

stay the 2024 Rule’s effective date under 5 U.S.C. § 705 or issue a preliminary

injunction to protect Plaintiffs and the public from this excessive and arbitrary

exercise of federal power.

      Respectfully submitted this 12th day of November, 2024.

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                       CERTIFICATE OF CONFERENCE

      I hereby certify that Defendants oppose this Motion for Preliminary

Injunction. On November 8 and 9, 2024, Counsel for Plaintiffs conferred by email

with Counsel for Defendants including John T. Lewis, III, Eric Beckenhauer, and

Julie Straus Harris of the U.S. Department of Justice. Agreement could not be

reached because counsel for Defendants would not agree to injunctive relief

protecting Plaintiffs from the regulation before the December 23 compliance date,
nor for the pendency of this case.


                                      /s/ Natalie D. Thompson
                                      Natalie D. Thompson




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